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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

                                                  )
JAMES P. VANDER SALM and                          )
JESSICA T. VANDER SALM, as Trustees of            )
the Judith P. Vander Salm Irrevocable Trust,      )
               Plaintiffs                         )
                                                  )      C.A. NO.: 4:11-cv-40180-TSH
v.                                                )
                                                  )
BAILIN & ASSOCIATES, INC.                         )
The SALISBURY HILL CONDOMINIUM                    )
TRUST, PETER T. KARASSIK, individually            )
and as Trustee of the Salisbury Hill              )
Condominium Trust, JOHN L. MACKOUL,               )
individually and as Trustee of the Salisbury Hill )
Condominium Trust, BERNARD BAILIN, as             )
Trustee of the Salisbury Hill Condominium         )
Trust, THOMPSON-LISTON ASSOCIATES,                )
INC., PATRICK J. HEALY, individually,             )
ROTTI CONSTRUCTION COMPANY, INC., )
WALTER R. ROTTI, individually, ECOTEC,            )
INC., and PAUL J. MCMANUS, individually, )
               Defendants.                        )
                                                  )

            DEFENDANT ECOTEC, INC.’S RULE 7.1 DISCLOSURE STATEMENT

        Pursuant to Fed.R.Civ.P. 7.1 Defendant EcoTec, Inc. states that it has no parent corporation and

that there is no publicly held corporation owning 10% or more of its stock.

                                             Respectfully submitted,
                                             ECOTEC, INC.
                                             By its Attorneys,

                                             /s/ Philip M. Hirshberg
                                             ______________________________
                                             Philip M. Hirshberg, BBO #567234
                                             MORRISON MAHONEY LLP
                                             250 Summer Street
                                             Boston, MA 02210
                                             (617) 439-7500
Dated: November 29, 2011                     phirshberg@morrisonmahoney.com




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                                        Certificate of Service

        I hereby certify that this document(s) filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on November 29, 2011.

                                                    /s/ Philip M. Hirshberg
                                                    ______________________________
                                                    Philip M. Hirshberg, BBO #567234




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